                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT WINCHESTER

 UNITED STATES OF AMERICA                          )
                                                   )       Case No. 4:12-cr-9
 vs.                                               )
                                                   )
 JOHN KEITH MAYS                                   )       MATTICE/CARTER

                               MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on April 30, 2012, in
 accordance with Rule 46(c) of the Federal Rules of Criminal Procedure and 18 U.S.C. '' 3143
 and 3148 on the Petition for Action on Conditions of Pretrial Release. Those present for the
 hearing included:

               (1) AUSA Gregg Sullivan for the USA.
               (2) The defendant, John Keith Mays.
               (3) Attorney John McDougal for defendant.
               (4) U.S. Probation Officer Christa Heath.
               (5) Deputy Clerk Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

        AUSA Gregg Sullivan called U.S. Probation Officer Christa Heath, who testified that the
 defendant violated his conditions of release by absconding from supervision and providing this
 Court with an unknown home address. Based on the defendant=s violations, I conclude the
 defendant is a risk of flight. Therefore, the defendant must be DETAINED without bond.

        SO ORDERED.

        ENTER.

                                            SBj|ÄÄ|tÅ UA `|àv{xÄÄ VtÜàxÜ
                                            UNITED STATES MAGISTRATE JUDGE




Case 4:12-cr-00009-HSM-WBC          Document 41        Filed 05/01/12   Page 1 of 1     PageID
                                         #: 115
